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U.S. Department of Justice

 

 

United States Attorney

District of Maryland
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February 12, 2019

Deborah Boardman

Assistant Federal Public Defender
Office of the Federal Public Defender
100 S. Charles St,

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Baltimore, MD 21201 “3

Re: Discovery Agreement in the Case of
United States v. William L. Holder co
Criminal No. CCB-18-0627

Dear Counsel:

I write to set forth the conditions on which the Government is willing to make discovery
in this case. Under Rule 16 of the Federal Rules of Criminal Procedure, discovery is to be given,
“upon request,” and I understand that you do request discovery. Therefore, I also request
discovery pursuant to Rule 16(b), Rule 26.2 and 18 U.S.C. § 3500.

The Government will provide discovery pursuant to and as defined in Rule 16, once you
have executed this agreement and returned it to our office. All materials discoverable under Rule
16 will be made available as follows:

1. Jencks material as defined in 18 U.S.C. § 3500, along with related Giglio material
such as witness’ plea agreements, criminal convictions and prior inconsistent statements, will be
provided no later than one week before trial. Brady material that is not otherwise included in the
Rule 16, Jencks, or Giglio material referred to above will be provided if and when discovered.
Jencks material is defined for purposes of this agreement in accordance with the specific
provisions of 18 U.S.C. § 3500. Jencks material is given on agreement that reciprocal Rule 26.2
material will be provided by you at the same time we provide Jencks material.

2: The Government agrees that at the same time that it provides Rule 16 material, it
will provide notice of the existence of alleged other crimes, wrongs or acts committed by your
client pursuant to Rule 404(b) of the Federal Rules of Evidence, along with copies of all physical
and documentary evidence believed by the Government to fall within the ambit of Rule 404(b)
that the Government intends to introduce at trial in its case-in-chief. The Government
acknowledges its continuing duty to disclose Rule 404(b) evidence as it is recognized as such
after the time period in which the Government has provided Rule 16 material. Therefore, the
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Government reserves its right to provide notice of its intent to introduce Rule 404(b) evidence
after it has provided Rule 16 materials to you.

nF The Government reserves the right to provide later notice of Rule 404(b) if the
Government believes that disclosure of such information will pose a security risk to any witness.
As to any such witness, the Government will disclose all Jencks material and all Rule 404(b)
evidence at the same time. The Government reserves the right to delay disclosure of Jencks and
Giglio where it would pose a security risk to a witness. If the Government determines such a
risk exists, it will seek an ex parte protective order from the Court that includes a date for
disclosure.

4. All discovery is provided on the condition that counsel will not give copies of
this material to the client or to anyone outside counsel’s office, absent prior approval of this
Office. Counsel may of course review this material with the client at any time or place, and may
provide copies to any expert consulted by the defense. If copies are provided to an expert,
defense counsel must instruct the expert that further disclosure of the documents is prohibited
absent prior approval of this Office.

5. Should counsel file any routine motion with the Court that seeks discovery
pursuant to Rule 16 or Brady, then this discovery agreement will be void, and the Government is
not bound by any of the provisions herein. Specifically, Jencks and Giglio material may not be
provided until the first day of trial if the defendant should file such a motion.

6. Should counsel file any motion with the Court that seeks material under the
Jencks Act, then this agreement is void and Jencks and Giglio material may not be provided until
the first day of trial.

ie The Government may be providing, as a courtesy, material that is not
discoverable under Rule 16, Jencks, Giglio, or Brady. The fact that certain non-discoverable
materials are provided in no way obligates the Government to provide all non-discoverable
materials, and the fact that certain non-discoverable materials are provided should never be taken
as a representation as to the existence or non-existence of any other non-discoverable materials.

Please indicate your consent to this discovery agreement by signing and returning to us a
copy of this letter. We urge you to call or write with any questions that arise, as we may be able
to resolve any questions without the filing of motions and responses with the Court.

Very truly yours,
Robert K. Hur

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f,
By:

Martin J. Clatke
Assistant United States Attorney
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TO ately

Deborah Boardman, Esq. Date
Counsel pe Defendant
